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                             No. 24-10095-P (Capital Case)

                IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT

                             _________________________

                             KENNETH EUGENE SMITH,

                                                   Plaintiff-Appellant,

                                              v.

                  COMMISSIONER, ALABAMA DEPARTMENT
                     OF CORRECTIONS, and WARDEN,
                    HOLMAN CORRECTIONAL FACILITY,

                                            Defendants-Appellees.
                             _________________________

      On Appeal from the United States District Court for the Middle District of
    Alabama (Northern Division) No. 2:23-cv-00656 (Hon. R. Austin Huffaker, Jr.)
                          _________________________

          PLAINTIFF-APPELLANT KENNETH SMITH’S RENEWED
            EMERGENCY MOTION FOR STAY OF EXECUTION1
                      _________________________

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  The “time frame” for Mr. Smith’s execution begins at 12:00 a.m. on January 25, 2024. Pursuant
to Eleventh Circuit R. 27-1(b)(2), Mr. Smith requests that the Court rule as soon as reasonably
possible.
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                               Appeal No. 24-10095-P

                CERTIFICATE OF INTERESTED PERSONS

      Undersigned counsel certify that the following persons may have an interest

in the outcome of this case:

      1.     Alverson, Gary W. - Counsel for the State of Alabama at trial;

      2.     Anderson, Kathryn D. - Counsel for the State of Alabama on direct
             appeal;

      3.     Anderson, Richard D. - Counsel for the Respondents during federal
             habeas proceedings and for Defendants-Appellees below;

      4.     Bahakel, Alfred - Retired Circuit Judge of Jefferson County

      5.     Bearden, Joshua S. - Counsel for the State of Alabama during Rule 32
             proceedings;

      6.     Burkett, Ashley - Counsel for Mr. Smith;

      7.     Ciliberti, Angelique A. - Counsel for Mr. Smith;

      8.     Dunn, Jefferson S. - Former Commissioner of the Alabama Department
             of Corrections;

      9.     Forrester, Nathan A. - Counsel for the State of Alabama on direct
             appeal;

      10.    Grass, Robert M. - Counsel for Mr. Smith

      11.    Hamm, John Q. - Commissioner of the Alabama Department of
             Corrections and Defendant-Appellee;

      12.    Hammonds, Tina Coker - Counsel for the State of Alabama during Rule
             32 proceedings and for Respondents during federal habeas proceedings;

      13.    Hensley III, John Coleman - Counsel for Defendants-Appellees below;

      14.    Horowitz, Jeffrey H. - Counsel for Mr. Smith;

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    15.   Huffaker, Jr., The Honorable R. Austin - United States District Judge
          for the Middle District of Alabama;

    16.   Hughes, Beth Jackson - Counsel for the State of Alabama on direct
          appeal and for Defendants-Appellees below;

    17.   Johnson, Andrew B. - Counsel for Mr. Smith;

    18.   Johnson, Christopher M. - Counsel for Mr. Smith at trial;

    19.   Johnson, Henry M. - Counsel for the State of Alabama on direct appeal
          and for Defendants-Appellees below;

    20.   Kallon, Abdul K. - Retired United States District Judge for the Northern
          District of Alabama;

    21.   Kenny, Polly Spencer - Counsel for Defendants-Appellees below;

    22.   Kerschner, David A. - Counsel for Mr. Smith;

    23.   King, Troy - Former Alabama Attorney General;

    24.   Marshall, Steve - Alabama Attorney General;

    25.   Martin, George - Counsel for the State of Alabama on direct appeal;

    26.   Monk III, Richard H. - Counsel for Mr. Smith during Rule 32
          proceedings;

    27.   Newsom, The Honorable Kevin C. - Former Alabama Solicitor
          General;

    28.   Norby, Charlotta - Counsel for Mr. Smith at trial and on direct appeal;

    29.   Nunnelly, Michael A. - Counsel for the State of Alabama during Rule
          32 proceedings;

    30.   Parker, John Forrest - Co-Defendant;

    31.   Pryor, Jr., The Honorable William H. - Former Alabama Attorney
          General;



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      32.      Raybon, Terry – Warden, William C. Holman Correctional Facility and
               Defendant-Appellee;

      33.      Samberg, Peter - Counsel for Mr. Smith during Rule 32 proceedings;

      34.      Sennett, Charles - Co-Defendant;

      35.      Sennett, Elizabeth Dorlene - Victim;

      36.      Sharp, Jr., William G. - Former Commissioner of the Alabama
               Department of Corrections;

      37.      Shelton, Jordan Shay - Counsel for Defendants-Appellees below;

      38.      Singleton, Palmer - Counsel for Mr. Smith at trial and on direct appeal;

      39.      Smith, Kenneth Eugene - Plaintiff-Appellant;

      40.      Tompkins, The Honorable N. Pride - Retired Circuit Judge of Colbert
               County;

      41.      Williams, Billy Gray - Co-Defendant.

      No publicly traded company or corporation has an interest in the outcome of

this appeal.




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        In light of the district court’s ruling following limited remand to consider

supplementing the record, as well as Defendants’ submission of additional evidence

to the district court on January 23, 2024, Mr. Smith renews his emergency motion

for a stay of execution for the reasons that follow.

                                 INTRODUCTION

        On the evening of January 23, 2024—just two days before it plans to attempt

the world’s first execution by nitrogen hypoxia—the Alabama Department of

Corrections (ADOC) made an eleventh-hour change to its plan for carrying it out.

It made that change in response to new evidence that Mr. Smith has been vomiting

repeatedly, as shown in ADOC’s own medical records—a likely result of the post-

traumatic stress disorder (PTSD) from which Mr. Smith suffers as a result of

ADOC’s previous failed attempt to execute him. See DE 87-1 ¶ 3; DE 87-2 ¶ 2; DE

87-3; DE 87-4 ¶ 4; DE 87-5 ¶ 7.2 Notably, ADOC does not dispute the facts reported

by Mr. Smith about his vomiting, which were documented by ADOC prison staff.

See DE 86. Nor could they reasonably do so, as their own medical staff has treated

Mr. Smith for his condition by prescribing antiemetic (i.e., anti-nausea) medication,

which Mr. Smith reports still has not been effective to stop his vomiting. See DE

87-2 ¶ 2; DE 87-3.


2
 “DE” citations are to entries on the District Court’s docket in this case. “Doc.”
citations are to documents filed with this Court.
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      In response to the significant risk of vomiting demonstrated by that evidence,

Defendants have simply made a last-minute change to their execution plans.

Defendant Terry Raybon, the warden of Holman Correctional Facility, announced

that change via a declaration submitted to the district court yesterday evening

wherein he states that “it was determined that the schedule for Smith’s final meal

will be altered” such that Mr. Smith “will not be allowed any solid food after 10:00

a.m.,” and he will only be “allowed clear liquids up until 4:00 p.m.,” with the

execution scheduled to “begin no sooner than 6:00 p.m.” DE 86-1 ¶ 2. Defendants’

new eleventh-hour plan therefore means that Mr. Smith will be deprived of any food

for at least eight hours before his execution. Given that the “timeframe” for his

execution extends until 6:00 a.m. on Friday, January 26, that period could be many

hours longer. In addition to the new constitutional issues presented by this new

change, it will be ineffective in any event. See DE 87 at 6; Doc. 16 at 17–18; see

also infra at Argument Section II.

      ADOC’s latest change is yet another shift of the constantly moving target that

is Alabama’s nitrogen hypoxia protocol. During ADOC’s years-long delay in

developing its protocol, its representatives told courts of the “difficult process to

develop the first in the nation protocol” because they could not “go take something

off the shelf.” Smith v. Hamm, 2:22-cv-00497, DE 32 at 41:14–42:8. And yet, on

the eve of being required to respond to discovery in Mr. Smith’s then-pending
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litigation about its failed lethal injection attempt, Doc. 16 at 6–7, 29–30, it released

to the public and Mr. Smith a Protocol outlining procedures that it now vehemently

asserts are mostly “common sense.” See, e.g., DE 62-33 at 81:2-14; 84:20-85:5;

147:23-148:8; 175:4-12; 217:2-10. And now, in response to evidence showing a

real and significant risk of Mr. Smith vomiting during the execution, ADOC has

chosen to change its plans so that Mr. Smith is deprived of food instead of employing

feasible and readily available alternatives that would actually reduce the risk of Mr.

Smith choking on his own vomit, such as a hood instead of a mask. ADOC is

seemingly making up its protocol as it goes along for this obviously novel and

experimental execution method.

      And while there is no doubt that a stay of execution is the exception and not

the rule, it is difficult to imagine a more exceptional case than one in which a State

intends to employ a novel protocol for a never-before-used method of execution,

using a plan that continues to shift less than 48 hours before the execution is

scheduled to begin. Mr. Smith (not to mention the public at large) has a strong

interest in ensuring that the State’s planned execution does not subject him to cruelty

in violation of the Eighth Amendment, particularly when Mr. Smith has already been

subjected to such cruelty in a previous failed execution attempt. The equities weigh

strongly in favor of a stay because of the compelling need to ensure that ADOC gets



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it right this time, and because Mr. Smith has shown a likelihood of success on the

merits.

                                   STANDARD

      A stay of execution is appropriate where the plaintiff can demonstrate that

“(1) he has a substantial likelihood of success on the merits; (2) he will suffer

irreparable injury unless the injunction issues; (3) the stay would not substantially

harm the other litigant; and (4) if issued, the injunction would not be adverse to the

public interest.” Price v. Comm’r, Dept. Corr., 920 F.3d 1317, 1323 (11th Cir. 2019)

(emphasis removed).

                                   ARGUMENT

I.    MR. SMITH IS LIKELY TO SUCCEED ON THE MERITS OF HIS
      EIGHTH AMENDMENT CLAIM.

      The new evidence related to Mr. Smith’s continuous vomiting, which has not

been alleviated by medication prescribed by ADOC for that purpose, further shows

not only that Mr. Smith is presently vomiting enough to be prescribed medication

but also faces a serious and substantial risk of vomiting during the execution. The

district court clearly erred in concluding that Mr. Smith’s new evidence “does not

change this court’s previous factual findings or conclusions of law.” DE 88 at 4.

      The district court’s factual findings based on the record as supplemented are

clearly erroneous. First, the district court found that Mr. “Smith’s purported


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vomiting is based entirely on his own personal reports,” which “have not been

corroborated by anyone else.” DE 88 at 2; see also id. at 3 (referring to Mr. “Smith’s

uncorroborated self-reports”). But the medical records produced by the Holman

Correctional Facility corroborate Mr. Smith’s self-reporting. The medical staff at

Holman are treating Mr. Smith for nausea and vomiting and have prescribed

medicine to treat his symptoms, which has been unsuccessful for that purpose. See

DE 87-3; 87-4 at 5–16 (Exhibit A). In addition, Defendants have custody of

Mr. Smith. If they want to corroborate Mr. Smith’s self-reporting, they have the

means to do that. And they have not disputed Mr. Smith’s self-reports. See DE 86.

      What is more, Defendants placed Mr. Smith on “single walk” status, which

means he is isolated from other condemned people at Holman, which complicates

his ability to visit with family and his counsel. See DE 67 at 129:18–131:12. Thus,

Defendants’ action makes it highly unlikely that Mr. Smith would vomit in front of

eyewitnesses other than ADOC personnel who are under the control of Defendants.

      The district court’s finding that Defendants’ last-minute workaround—

depriving Mr. Smith of solid food after 10 a.m. and liquid nourishment after 4 p.m.

on the day of his planned execution—will adequately address the risk of

asphyxiation from vomiting into the mask also is clearly erroneous. Defendants are

taking a medical procedure—a nothing-by-mouth order before scheduled surgery—

and applying it outside its context.     In the context of Mr. Smith’s execution,
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Defendants’ belated amendment to the Protocol is part of the Eighth Amendment

issue—not a solution to it.3

        There is a reason scheduled surgeries that entail nothing by mouth orders

generally occur in the morning. The patient can eat the evening before, sleep, and

then be taken for surgery. Here, Defendants propose to deprive Mr. Smith of food

for eight hours during the day, thereby significantly extending his ordeal, before

exposing him to substantial risks of asphyxiation due to vomiting and other dire

consequences from their failure to do any testing to ensure that the mask is airtight.

        Furthermore, after reviewing the new medical records produced on January

21, 2024, Dr. Porterfield stated, “it is my opinion to a reasonable degree of clinical

certainty that there is a substantial and serious risk that Mr. Smith will experience

nausea and vomiting during his execution, due to his condition of PTSD and his

ongoing, worsening symptoms of nausea and vomiting seen over the last four weeks.

This creates a significant risk that Mr. Smith will suffer substantial harm,

including but not limited to asphyxiating—that is, choking to death—on his own

vomit.” DE 87-5 ¶ 7 (emphasis added).



3
 To the extent the district court concluded that Mr. Smith requested that a nothing-
by-mouth order be added to the protocol or that such an order would be sufficient to
address the risk of choking on his own vomit during the execution, that is incorrect.
Defendants first raised nothing-by-mouth orders in their cross-examination of
Dr. Yong. See, e.g., DE 67 at 69:12–19; 78:15–79:2; 162:6–13.
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      Defendants’ plan exacerbates the Eighth Amendment issues here. “Because

depriving a prisoner of adequate food is a form of corporal punishment, the eighth

amendment imposes limits on prison officials’ power to so deprive a prisoner.”

Cooper v. Sheriff, Lubbock Cty., Tex., 929 F.2d 1078, 1083 (5th Cir. 1991); see also

Chavarriaga v. New Jersey Dep’t of Corr., 806 F.3d 210, 226 (3d Cir. (2015)

(“[P]rison officials violate an inmate’s Eighth Amendment rights when they deprive

her of ‘a single identifiable human need such as food warmth, or exercise.’” (quoting

Wilson v. Seiter, 501 U.S. 294, 304 (1991)). What is more, Defendants’ plan could

deprive Mr. Smith of any liquids at all for up to 14 hours, an even more serious

problem than food deprivation. In the medical context, for example, individuals

undergoing a procedure after a nothing by mouth order receive IV fluids to prevent

dehydration.

      Defendants’ plan to require Mr. Smith to fast for at least 8 hours before his

planned execution merely confirms that Defendants are ill-prepared to carry out

Mr. Smith’s execution tomorrow. Defendants are inadequately prepared to address

Mr. Smith’s PTSD, which Defendants caused by their failed attempt to execute him

in November 2022. Predictably, as Dr. Porterfield testified, Mr. Smith’s symptoms,

including nausea and vomiting, are becoming increasingly severe as his execution

approaches. See DE 62-54 at 3 (“It is my clinical opinion that the current plan of

execution and the possibility of having to again face these procedures is completely
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terrifying for Mr. Smith and leading to ongoing deterioration.”); id. at 30 (“The new

execution date set for Mr. Smith will begin a process of reexperiencing of reminders

and details that are sure to be highly triggering for Mr. Smith.”). Now Defendants

propose to address that by depriving Mr. Smith of food and water, which will

increase his anxiety and other PTSD-associated symptoms. Defendants’ last-minute

workaround further demonstrates that permitting Defendants to attempt to execute

Mr. Smith tomorrow would violate his right to be free from cruel and unusual

punishment.

      In addition, the district court’s findings are based on the clearly erroneous

premise that the only issue is whether Mr. Smith vomits “precisely between the time

nitrogen begins to flow and before he reaches unconsciousness.” DE 89 at 3. That

unsupported notion is contradicted by the existing record both because it assumes

that the mask that Defendants will place over Mr. Smith’s face will be adequately

sealed4 and airtight, and because it is undisputed that Defendants’ plan to use a finger

sweep to clear vomit from Mr. Smith’s mouth and airway while breathing air is

delivered to him is inadequate, as suction is required for that purpose. See Gray Br.



4
 Defendants’ assurance that “Smith will be unconscious in one minute,” Doc. 48 at
11, assumes that the mask it intends to place on Mr. Smith’s face will be sealed and
airtight even though Defendants do not intend to follow the guidance of the mask
manufacturer, which the district court ignored, and do any test to ensure that is the
case. See Blue Br. 35–36.
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17–18. Defendants will not do anything to address vomiting once nitrogen is

supplied to Mr. Smith; he will be left to choke on his own vomit. See Blue Br. 40.

      Moreover, as Dr. Antognini testified, even after a person loses consciousness,

“[y]ou can get passive regurgitation, which can go up into the airway – into the

mouth and into the airway.” DE 67 at 162:21–23. And Defendants will not do

anything to prevent the risk of asphyxiation when nitrogen is being supplied to Mr.

Smith; they will let him choke on his own vomit. See Blue Br. 40. Thus, Mr. Smith

will be at risk of asphyxiation due to vomiting from the time he is taken to the

execution chamber when the mask is placed on his face, DE 62-3 at § X.A.v until

the procedure concludes, which can be an indefinite period of time because nitrogen

“will be administered for (1) fifteen minutes or (2) five minutes following a flatline

indication on the EKG, whichever is longer.” DE 62-3 at § X.A.xv (emphasis

added); see also DE 67 at 101:1-102:17.

II.   THE EQUITIES FAVOR A STAY.

      In addition to the considerations discussed in Mr. Smith’s initial Emergency

Motion to Stay Execution, Doc. 15, additional factors further support Mr. Smith’s

request for a stay. The State does not meaningfully dispute Mr. Smith’s assertion

that he has been vomiting. See DE 86. Indeed, it cannot. ADOC’s own medical

staff has recorded those symptoms in his medical records and have prescribed him

medication for those symptoms (which is not working). See DE 87-3; 87-4 at 5–16

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(Exhibit A). Moreover, Defendant Raybon has now changed the execution plan in

response to Mr. Smith’s deteriorating health. See DE 86-1. The district court thus

clearly erred in stating that Mr. Smith’s vomiting is only “self-reported.” But

ADOC’s eleventh-hour attempt to change its plan also presents other issues that

should receive full and fair consideration.

      First, the changes outlined in Defendant Raybon’s declaration are completely

inadequate to address the range and severity of symptoms that Mr. Smith faces

because of his PTSD. This change is premised on an incorrect assumption that a

food and liquid restriction will minimize the likelihood of Mr. Smith vomiting. But

“nothing-by-mouth orders” do not eliminate the risk of vomiting. And Mr. Smith

has not received adequate treatment for his PTSD; it has in fact worsened over the

last several months, with him reporting increased nausea, anxiety, sleeplessness,

flashbacks, and vomiting. DE 87-5 ¶ 6–7. Even with the changes proposed by

Defendant Raybon, Mr. Smith faces a substantial and real risk of vomiting.

      Second, although Defendant Raybon’s declaration states that the execution

“will begin no sooner than 6:00 p.m.,” it says nothing about what will happen if Mr.

Smith’s execution is delayed either by ongoing litigation or from issues that arise

when carrying out the execution. See DE 86-1 ¶ 2. Moreover, Governor Ivey has

set a thirty-hour time frame for the execution to occur beginning at 12:00 a.m. on

Thursday, January 25, 2024, and expiring at 6:00 a.m. on Friday, January 26, 2024.
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DE 31 ¶ 73. It is therefore possible that Mr. Smith will have to go without food for

20 hours and without liquids for 14 hours.         That in and of itself raises new

constitutional questions that deserve to be considered. See, e.g., Cooper, 929 F.2d

at 1083 (“Because depriving a prisoner of adequate food is a form of corporal

punishment, the eighth amendment imposes limits on prison officials’ power to so

deprive a prisoner.”).

      Defendant Raybon’s declaration underscores what Mr. Smith has been

arguing from the outset. ADOC has haphazardly assembled a new execution

protocol that has not been adequately tested, and its plan for the execution continues

to change less than 48 hours before the execution. The issues raised in Mr. Smith’s

complaint are meritorious, have been diligently pursued, and deserve to be

considered fully and fairly.     As explained more fully in Mr. Smith’s initial

Emergency Motion to Stay the Execution, the exigent nature of this appeal is of

ADOC’s own doing. Doc. 15 at 2. It should not be rewarded with a free pass to use

Mr. Smith as its test subject for its woefully deficient Protocol.

                                  CONCLUSION

      The Court should stay the scheduled execution until such time as Mr. Smith’s

claims—which raise important questions about a novel method-of-execution and

how Mr. Smith was chosen as the test subject for the State’s new Protocol—are fully

adjudicated.
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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume litigation of Fed. R. App. P. 27.

This motion contains 2,743 words, excluding the parts of the motion exempted. This

motion complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the

type style requirements of Fed. R. App. P. 32(a)(6) because it has been prepared in

a proportionally spaced typeface using Word, in 14-point Times New Roman font.



                                      /s/ Andrew B. Johnson
                                      Andrew B. Johnson

Dated: January 24, 2024




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                          CERTIFICATE OF SERVICE

      I certify that, on January 24, 2024, I filed Plaintiff-Appellant Kenneth Smith’s

Emergency Motion for Stay of Execution with the Clerk of the Court using the

NextGen CM/ECF system, which will automatically send email notification to all

counsel of record.



                                       /s/ Andrew B. Johnson
                                       Andrew B. Johnson

Dated: January 24, 2024




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